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1
                                    UNITED STATES DISTRICT COURT
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3                               SOUTHERN DISTRICT OF CALIFORNIA
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        In the Matter of the Complaint of               CASE #: 10CV0940 – GPC - WVG
6
        LOW ET AL
7                                                       NOTICE RE: DISBURSEMENT OF FUNDS
        vs.                                             DEPOSITED WITH THE COURT PURSUANT
8                                                       TO CIVIL LOCAL RULE 67.1 (D)
        TRUMP UNIVERSITY LLC ET AL
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11
                Please take notice that the above-entitled action is terminated, and the funds deposited in the Court’s
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        registry remain on deposit because a proposed order to disburse funds has not been submitted.
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                28 U.S.C. § 2042 states:
14                  No money deposited under section 2041 of this title shall be withdrawn except by
                    order of court.
15                  In every case in which the right to withdraw money deposited in court under section
                    2041 has been adjudicated or is not in dispute and such money has remained so
16                  deposited for at least five years unclaimed by the person entitled thereto, such court
                    shall cause such money to be deposited in the Treasury in the name and to the credit
17                  of the United States. Any claimant entitled to any such money may, on petition to the
                    court and upon notice to the United States attorney and full proof of the right thereto,
18                  obtain an order directing payment to him.

19              Pursuant to Civil Local Rule 67.1(d), any party seeking to withdraw funds from the Court’s registry
20      shall obtain an “Order to Disburse Funds”.
21              If the funds remain unclaimed with no response filed to this notice within 90 days and having been
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        on deposit for more than five years, the funds will be subject to deposit in the Treasury of the United States
23
        in the name and to the credit of the United States.
24
                                                          John P. Morrill
25
                                                          Clerk of Court

26                                                        By: /s Laura Jimenez
                                                          Financial Supervisor
27                                                        619-557-6366

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